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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION


UNITED STATES OF AMERICA
                                                No. 18 CR 696
                   v.
                                               Hon. John Robert Blakey
ASHRAF AL SAFOO,
  a/k/a Abu Al’-Abbas Al-Iraqi,
  a/k/a Abu Shanab,
  a/k/a Abbusi


       GOVERNMENT’S REPLY TO DEFENDANT’S RESPONSE TO
    MOTION TO TAKE DEPOSITION PURSUANT TO RULE 15 OF THE
           FEDERAL RULES OF CRIMINAL PROCEDURE

      The United States of America, by and through its attorney, JOHN R. LAUSCH,

JR., United States Attorney for the Northern District of Illinois, hereby respectfully

submits this reply to the defendant’s response to the government’s motion to admit a

deposition taken pursuant to Rule 15 of the Federal Rules of Criminal Procedure and

to offer remote testimony of a witness during trial. Specifically, the government filed

its motion seeking to admit the direct testimony of Yasir al-Anzi (“al-Anzi”), taken

during a Rule 15 deposition on March 31, 2021, and to have al-Anzi complete his

testimony remotely, via live two-way video from Iraq during trial.

      The defendant does not oppose the use of live two-way video for the taking of

al-Anzi’s testimony contingent upon two caveats. First, the defendant wants the

testimony to begin anew with the direct testimony in lieu of playing at trial the

recording of the direct testimony that was previously taken pursuant to the Rule 15

deposition. The government has no objection to this request. The government

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anticipates that because of security concerns and the time difference between Chicago

and Iraq, the window to question the witness may be limited to approximately four

hours per session. The testimony, therefore, may occur over two mornings.

      Second, the defendant insists that any Iraqi official who was involved in the al-

Anzi case, to include two Iraqi government officials who were present during the Rule

15 deposition, not be present during the live testimony. The defendant wraps this

request around accusations of impropriety regarding the Iraq government’s

treatment of al-Anzi. The government disputes the defendant’s unsupported

accusations; however, the government does not oppose this request with the

understanding that the government cannot demand that the Iraqi government

comply. The government will make the request of the Iraqi government; however, if

the Iraqi government refuses this request, the United States government has no

mechanism by which to force these individuals’ exclusion, and the live testimony

should continue. The defendant’s insistence on whom should be present during the

testimony, and their grounds for such, goes to the weight of the testimony and not the

admissibility. In determining the weight to give the testimony, the Court will be able

to view al-Anzi’s testimony live and will be able to assess the witness’s credibility at

that time. In addition, at the close of the trial, the defendant’s accusation of

mistreatment by the Iraqi government can be argued by the defendant as a credibility

factor to be considered by the Court.




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                                           CONCLUSION

            For the reasons stated above, the government respectfully requests the Court

      grant the government’s motion to permit remote testimony of the witness.


                                            Respectfully submitted,

                                            JOHN R. LAUSCH, Jr.
                                            United States Attorney

                                     By:    /s/ Barry Jonas
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Dated: October 26, 2021




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